Case 1:17-cv-02003-GBD-SN Document 73-1 Filed 07/10/18 Page 1 of 4




                           EXHIBIT A
         Case 1:17-cv-02003-GBD-SN Document 73-1 Filed 07/10/18 Page 2 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:                                                                03-MDL-1570 (GBD)(SN)

         TERRORIST ATTACKS ON                                        NOTICE TO CONFORM TO
         SEPTEMBER 11, 2001                                          CONSOLIDATED AMENDED
                                                                          COMPLAINT
-----------------------------------------------------------------X

This document relates to: ________________________________________________________,

No. ___________________.

         Plaintiffs in the above-mentioned previously filed case file this Notice to Conform to the

Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF No. 3463, as

permitted and approved by the Court’s Order of June ___, ECF No. ________. Upon filing of

this Notice to Conform, Plaintiffs’ underlying Complaint, ECF No. ________, is deemed

amended to include the factual allegations, jurisdictional allegations, and jury trial demand of the

Consolidated Amended Complaint, as well as all causes of action specified below. The

amendment effected through this Notice to Conform supplements by incorporation into, but does

not displace, plaintiffs’ underlying Complaint. This Notice to Conform relates solely to the

Kingdom of Saudi Arabia and does not apply to any other defendant, as to which plaintiffs’

underlying Complaint and any amendments thereto are controlling.

         Upon filing this Notice to Conform, each Plaintiff is deemed to have adopted all factual

and jurisdictional allegations of the Consolidated Amended Complaint; all prior filings in

connection with the Consolidated Amended Complaint; and all prior Orders and rulings of the

Court in connection with the Consolidated Amended Complaint.




                                                        1
      Case 1:17-cv-02003-GBD-SN Document 73-1 Filed 07/10/18 Page 3 of 4




                                              VENUE

          1.   Plaintiffs’ case is part of the multi-district proceeding In re Terrorist Attacks on

September 11, 2001, 03-MDL-1570 (GBD)(SN), established by the Judicial Panel on

Multidistrict Litigation for coordinated or consolidated pre-trial proceedings in the United States

District Court for the Southern District of New York.

                            IDENTIFICATION OF PLAINTIFFS

          2.   Plaintiffs filing this Notice to Conform are identified in their underlying

Complaint, ECF No. ________, and are incorporated herein by reference.

          3.   Plaintiffs have described their particular injuries and the nexus between those

injuries and the September 11th attacks in their underlying Complaint, which allegations are

incorporated herein by reference.

                                     CAUSES OF ACTION

          4.   Plaintiffs hereby adopt and incorporate herein by reference the following causes

of action set forth in the Consolidated Amended Complaint, ECF No. 3463 (check all that

apply):

               COUNT I – Aiding and Abetting and Conspiring with Al Qaeda to Commit the
               September 11th Attacks upon the United States in violation of 18 U.S.C.
               § 2333(d) (JASTA).

               COUNT II – Aiding and Abetting and Conspiring with Al Qaeda to Commit the
               September 11th Attacks upon the United States in violation of 18 U.S.C.
               § 2333(a).

               COUNT III – Committing Acts of International Terrorism in violation of 18
               U.S.C. § 2333.

               COUNT IV – Wrongful Death.

               COUNT VI – Alien Tort Claims Act.

               COUNT VII – Assault and Battery.


                                                  2
      Case 1:17-cv-02003-GBD-SN Document 73-1 Filed 07/10/18 Page 4 of 4




               COUNT VIII – Conspiracy.

               COUNT IX – Aiding and Abetting.

               COUNT X – Intentional Infliction of Emotional Distress.

               COUNT XII – Liability Pursuant to Restatement (Second) of Torts § 317 and
               Restatement (Third) of Agency § 7.05: Supervising Employees and Agents.

               COUNT XIII – Liability Pursuant to Restatement (Second) of Torts § 317 and
               Restatement (Third) of Agency § 7.05: Hiring, Selecting, and Retaining
               Employees and Agents.

               COUNT XIV – 18 U.S.C. § 1962(a)–(d) – CIVIL RICO.

               COUNT XV – Trespass.

               COUNT XVI – Violations of International Law.

       Plaintiffs’ constituent case shall be deemed subject to any motion to dismiss the

Consolidated Amended Complaint or answer to the Consolidated Amended Complaint filed by

the Kingdom of Saudi Arabia. By way of filing this Notice, plaintiffs shall not be deemed to

have adopted any class-action allegations set forth in the Consolidated Amended Complaint,

waived any right to object to class certification, or opted out of any certified class. This Notice

also does not serve as a request for exclusion from any class that the Court may certify.



Dated: ____________________



                                                      Respectfully submitted,



                                                      ____________________________________

                                                      COUNSEL FOR PLAINTIFFS




                                                  3
